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 6   Counsel for Defendant
     AAP Implants, Inc.
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE DISTRICT OF NEVADA
10   HOWARD RONALD TUBIN,                              CASE NO. 2:20-cv-02347-APG-DJA
11                                Plaintiff,
12            v.
13   DEPUY SYNTHES SALES, INC., d/b/a
     DEPUY SYNTHES JOINT
14   RECONSTRUCTION; DEPUY SYNTHES
15   INC.; JOHNSON & JOHNSON; DEPUY
     ORTHOPAEDICS, INC.; STRYKER
16   CORPORATION; HOWMEDICA
     OSTEONICS CORPORATION d/b/a
17   STRYKER ORTHOPAEDICS; AAP
     IMPLANTS, INC.; DOES 1 through 15,
18
     inclusive; and ROE BUSINESS ENTITIES 1
19   through 15, inclusive,

20                                Defendants.

21
22                       STIPULATION AND ORDER TO EXTEND TIME FOR
23                         DEFENDANT TO RESPOND TO COMPLAINT
24                                     (SECOND REQUEST)
25           IT IS HEREBY STIPULATED AND AGREED, between Plaintiff HOWARD
26   RONALD TUBIN (“Tubin” or “Plaintiff”), by and through his counsel of record, Bertoldo
27   Baker Carter & Smith, and Defendant, AAP IMPLANTS, INC. (“AAP” or “Defendant”), by
28   and through its counsel of record, Greenberg Traurig, LLP, that the deadline within which
                                                1
     ACTIVE 50656342v1
     Case 2:20-cv-02347-APG-DJA Document 36 Filed 02/26/21 Page 2 of 3



 1   Defendant may file and serve a response to Plaintiff’s operative Complaint is hereby
 2   extended from February 25, 2021 to March 29, 2021 so that the parties may assess whether
 3   AAP is a properly named defendant in this action.
 4         IT IS SO STIPULATED AND AGREED.
 5   Dated this 25th day of February 2021.           Dated this 25th day of February 2021.
 6   BERTOLDO BAKER CARTER &                         GREENBERG TRAURIG, LLP
     SMITH
 7
 8   By:   /s/ Lindsay K. Cullen                     By: /s/ Eric W. Swanis
           LINDSAY K. CULLEN, ESQ.                       ERIC W. SWANIS, ESQ.
 9         Nevada Bar No. 12364                          Nevada Bar No. 006840
           BRETT A. CARTER, ESQ.                         10845 Griffith Peak Drive
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13         Lindsay@NVLegalJustice.com                    Counsel for Defendant
           Carter@NVLegalJustice.com                     AAP Implants, Inc.
14         Counsel for Plaintiff
           Howard Ronald Tubin
15
16
                                             IT IS SO ORDERED.
17
18
19                                           UNITEDJ.STATES
                                             DANIEL     ALBREGTSDISTRICT COURT JUDGE
                                             Dated thisSTATES
                                             UNITED     ______ MAGISTRATE
                                                               day of _______________,
                                                                             JUDGE     2021
20
                                             DATED: February 26, 2021
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                                         35 Filed 02/26/21
                                                  02/25/21 Page 3 of 3



 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on February 25, 2021, I caused the foregoing document to be
 3   electronically filed with the Clerk of the Court using the CM/ECF system, which will send
 4   notification of such filing to the CM/ECF participants registered to receive such service:
 5                               LINDSAY K. CULLEN, ESQ.
                                 Lindsay@NVLegalJustice.com
 6
                                     Nevada Bar No. 12364
 7                                 BRETT A. CARTER, ESQ.
                                  Carter@NVLegalJustice.com
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 9                          BERTOLDO BAKER CARTER & SMITH
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10                                Telephone: (702) 228-2600
                                      Counsel for Plaintiff
11
12
                                       /s/ Evelyn Escobar-Gaddi
13                          An employee of GREENBERG TRAURIG, LLP
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